MINUTE ENTRY
FELDMAN, J.
JANUARY 29,2009

                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                   CRIMINAL ACTION

VERSUS                                     NO. 08-147

CHARLES BARNETT, JR.                      SECTION "F"


CT DEP: STEVE HILL                          CT. REP.    TONI TUSA

GOVT: MIKE MCMAHON
DEFT: VINNIE MOSCA
REARR:     X deft sworn
           X deft pleads guilty to Ct 1 of superseding bill
           X Court questions the deft.
           X deft waives reading of the bill
           X plea letter filed
           X govt. details the evidence
           X Court accepts plea and adjudges deft guilty
           X PSI ordered
            deft remanded to custody
           X deft released on bond
           X sentencing date set for MAY 28, 2009, AT 10:30 A.M.

IT IS ORDERED that the trial and pre-trial of the above defendant
is cancelled.


JS10-.30 MINUTES
